Case 6:16-cv-00028-GAP-TBS Document 16 Filed 04/15/16 Page 1 of 2 PageID 136




                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   JACQUELINE GUNTER,

                          Plaintiff,

   v.                                                             Case No: 6:16-cv-28-Orl-31TBS

   SPRINTCOM, INC.,

                          Defendant.


                                                 ORDER
          This matter comes before the Court without a hearing on the Motion to Compel Arbitration

   (Doc. 15) filed by the Defendant, Sprintcom, Inc. (“Sprint”). Although the deadline for a

   response has passed, there has been no opposition filed to the motion.

          The Plaintiff, Jacqueline Gunter (“Gunter”) complains that when she took her phone into a

   Sprint-owned store to have it repaired, the technician who did the repair copied several private

   photos of the Plaintiff off of her phone and onto his own. (Doc. 1 at 3). Based on this, Gunter

   has sued Sprint for breach of privacy (Count I); negligence (Count II); theft and conversion (Count

   III); intentional infliction of emotional distress (Count IV); and respondeat superior and vicarious

   liability (Count V).

          Sprint seeks to compel arbitration of the dispute based on language from the subscriber

   agreement Gunter entered into in 2009. That agreement provided that the parties would “settle all

   disputes … only by arbitration” and defined “disputes” to encompass “any claims or controversies

   against each other related in any way to our Service or the Agreement, including, but not limited

   to, coverage, Devices, privacy, or advertising, even if it arises after Service is terminated.” (Doc.

   15-3 at 21-22). The agreement to arbitrate also covered any claims brought by the subscriber
Case 6:16-cv-00028-GAP-TBS Document 16 Filed 04/15/16 Page 2 of 2 PageID 137



   against Sprint employees. (Doc. 15-3 at 22). The subscriber agreement was updated several

   times during the period when Gunter was a Sprint customer, but these terms and conditions were

   not materially affected.

          The Federal Arbitration Act, 9 U.S.C. §1 et seq., creates a presumption in favor of

   arbitration. See, e.g., Moses H. Cone Mem’l Hosp. v. Mercury Construction Corp., 460 U.S. 1,

   24 (1983) (stating that “questions of arbitrability must be addressed with a healthy regard for the

   federal policy favoring arbitration.”). Under the F.A.A., there are three factors for the court to

   consider in determining a party’s right to arbitrate: (1) a written agreement exists between the

   parties containing an arbitration clause; (2) an arbitrable issue exists; and (3) the right to

   arbitration has not been waived. In light of the foregoing, and in the absence of any guidance

   from the plaintiff, it appears that these requirements have been met. The subscriber agreement

   between the parties contains an arbitration clause; the damages resulting from the Sprint

   technician’s alleged misbehavior appears to be an arbitrable issue; and there is no indication of

   waiver. Accordingly, it is hereby

          ORDERED that the Motion to Compel Arbitration (Doc. 27) is GRANTED and this

   matter is STAYED pending arbitration.

          DONE and ORDERED in Chambers, Orlando, Florida on April 15, 2016.




                                                                                                          


   Copies furnished to:

   Counsel of Record
   Unrepresented Party




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